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IN THE UNITED STATES DISTRICT COU§RT

 

 

 

 

 

EASTERN DISTRICT oF TEXAS § .=. ,,
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THE sTA'rE oF TEXAS, § CIVIL No.: 5:96§~€\/§@9091 aj § 1
Plaintiff, § § li)l€zF»U“tva,$..,,rm_,/MWMF ,,,¢.~e, j §
§ nw _, ,
v. § JUDGE: DAVID FoLsoM
§
rle AMERlCAN ToBACCo §
CoMPANY, E'r AL., § MAG!STRATE JUDGE:
Defenda.ncs. § WENDELL c. RADFORD

MOTION TO INTERVENE TO OBTAIN A I)ECLARATION OF THE RIGHTS OF THE
PARTlES UNDER THE COURT'S JUDGMENT OF JANUARY 22, 1998, TO STAY

DISBUR§EMENT OF §E! !LEMENT FUNDS AND TO AMEND JUDGMENT

TO THE HONORABLE JUDGE OF SAID COURT:

Dallas County, Dallas County Hospita] Distn`ct, Hairis County, Hanis County Hospital
District, Nueees County, and Nueces County Hospital District (hereinal`ter collectively the “Counties
and Hospital Districts”), file this Motion to Intervene to Obtain a Declaration of the Rights of the
Parties under the Court's Judgment of Jannary 22, 1998, to Stay Disbursement of Settlement Funds
and to Amend Judgment and in furtherance thereof respectfully would show the Court as follows:

l. The Counties and Hospital Districts adopt and incorporate by reference the argument
and authorities contained in Montgomery County Hospital District’s Motion to Intervene, filed
herein, as grounds for their right to intervene to obtain a declaration of the rights of the Counties and
Hospital Districts and the other parties under the Comprehensive Settlement Agreement and Release
(“Settlement”) incorporated into the Court’s Judgmen.t of January 22, 1998. Pending the Court’S
ruling on the rights of the parties under the Settlement and Judgment, the Counties and Hospital

Districts reserve the right to bring an action against the Tobacco Defendants.

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PARTlES uNDER THE Coum“‘s Jur)GMENT or JAN\)ARY 22, 1998, To STAv

DISBUR§EMENT OF §ETTL§MENT FUND§ AND TG AM[§ND JQDGMENT ~ Page l

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v 2. As noted in Montgomery County Hospital District’s Motion to Intervene and
separately filed Motion for Relief from Judgrnent, the Settlement contains language at various places
and, most importantly, in the release provisions at 11 15, which could be construed to be a release of
the Counties’ and Hospital Districts’ claims as well. Until the Counties and Hospital Districts
obtained a copy of the Settlement presented to the Court on January 16, 1998, they had no inkling
that their claims were purportedly being represented by the Texas Attorney General, without their
knowledge or consent, or being negotiated away as part of the Settlement and Release Agreement.
See A)m'cus Brief of Dal/as County and Dallas County Hospt'tal Dl`strz'ct Regardz'ng the Joint Motl'on
F or Approval ofSettlement Agreement, incorporated herein by reference

3. Consistent with the lack of any reference to the Counties’ and Hospital Districts’
claims in the State’s pleadings up to submission ofthe Settlement and the absence of any portion of
the Counties’ and Hospital Districts’ damages in the State’s damage calculations, the Texas Attorney
General has informally communicated to the Counties and Hospital Districts and other counties and
hospital districts that it was not his intention to represent them or to settle their claims in this action,
and that he lacked authority to do so. However, should this Court’s Judgment of January 22, 1998
become final without further clarification of this point, the Counties and Hospital Districts may
suffer an adverse ruling on any claim asserted by them against the Tobacco Def`endants on the basis
that they were adequately represented in this action and that their claims have been forever released.
The Counties and Hospital Districts therefore claim standing to appear before this Cour't to obtain
a declaration of their rights vis-a-vis the Settlement and this Court’s Judgment settling Texas’ case
against the Tobacco Defendants,

4. Should this Court agree that the Counties’ and Hospital Districts7 claims are not

included in the Settlement, then the Counties and Hospital Districts petition the Court pursuant to

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Fed. R. Civ. P. 59 to amend the Settlement and its Judgment to make the limited coverage of` the
Settlement clear.

5. If, on the other hand, this Court takes the contrary view that the Counties’ and
Hospital Districts’ claims are covered by the Settlement, then the Counties and Hospital Districts
are entitled to a declaration of the basis for the authority of the Attorney General to compromise and
settle their claims without having pleaded them, consulted with the Counties and Hospital Districts,
obtained any information on the specifics of the Counties’ and Hospital Districts’ claims or
otherwise made provision for the Counties and Hospital Districts in the Settlement

6. Further, if the Court rules that the Counties and Hospital Districts and their claims
are included in the designation of the “State” or “State of Texas” in the Settlement, the Counties and
Hospital Districts hereby move for relief from the Judgment of January 22, 1998 under Fed. R.
Civ. P. 60 or to alter or amend the Judgment under Fed. R. Civ. P. 59. The Texas Attorney General
lacks the authority to make specific appropriation of funds recovered on behalf of the Counties and
Hospital Districts, or the State of Texas, as “anticipate[d]” ini] 5 of the Settlement. Because the
language in 11 5 is merely anticipatory and contingent on the determination of other purposes, the
Court should strike those provisions from the Settlement as incorporated into the Court’s Judgment.

7. Finally, settlement funds already are being paid by the Tobacco Defendants and soon
will begin to accumulate in escrow or in the Court’s registry, The Court should enter a stay of any
disbursements from such funds pending its declaration of the rights of the parties under the
Settlement and Judgment and under the various pending motions to grant relief from or amend the
Court’s Judgment and the Settlement

WHEREFORE, the Counties and Hospital Districts pray the Court to grant them leave to

intervene, to declare the Counties’ and Hospital Districts’ rights under the Settlement and the Court’s

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Judgment and, contingent thereon, for such other relief as hereinabove pleaded, together with such

other and further relief, at law and in equity, to which they may be justly entitled

Respectfully submitted,

JENKENS & GILCHRIST,
A Professional Corporation
1445 Ross Avenue, Suite 3200
Dallas Texas 75202
245/8 5-4500 Fax: 2/14/ 5- 4300

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ATTORNEYS FOR DALLAS CO Y AND
DALLAS COUNTY HOSPITAL DISTRICT

and

Michael P. Fleming

State BarNo. 07130600

HARRIS COUNTY ATTORNEY’S OFFICE
1001 Preston, Suite 634

Houston, TX 77002
713/ 755-5101 Fax: 713/ 755~8924
ATTCRNEYS FOR HARRIS COUNTY AND
HARRIS COUNTY HOSPITAL DISTRICT

and

Carl E. Lewis

State Bar No. 12275150

NUECES COUNTY ATTORNEY’S OFFICE
901 Leopard Street, Rm. 206

Corpus Christi, TX 78401

512/888-0286 Fax: 512/888»0700

ATTORNEYS FOR NUECES COUNTY AND
NUECES COUNTY HOSPITAL DISTRICT

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CERTIFICATE OF SERVICE

l hereby certify that on this 2nd day of February_, 1998, a true and correct copy of the
foregoing document has been forwarded to all known;j‘edunsel of record in accordance with the

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provisions of Fed. R. Civ. P. 5. ,,.t.\ t ,,,,
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